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 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, California 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     ROSALVA BERNAL
 5                                                      OK/HAV

 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11
12   UNITED STATES OF AMERICA,     ) CR S-05-00145 DFL
                                   )
13                  Plaintiff,     )
                                   )
14        v.                       ) STIPULATION AND [PROPOSED]
                                   ) ORDER
15   ROSALVA BERNAL, et al.,       )
                                   )
16                  Defendants.    )
     ______________________________)
17
18
               Plaintiff      United   States      of    America,       by   its    counsel,
19
     Assistant United States Attorney Jason Hitt, and defendant Rosalva
20
     Bernal, by her counsel, Federal Defender Quin Denvir, hereby stipulate
21
     and agree that the hearing on the motion to suppress and status
22
     conference   currently    calendared        for    August    25,    2005      should   be
23
     continued as to defendant Rosalva Bernal and the matter set for change
24
     of plea on Friday, September 2, 2005 at 10:00 a.m.
25
               The   parties    are    in   the    process       of   finalizing      a   plea
26
     agreement and require additional time in which to complete the process
27
     and have the agreement reviewed by the defendant.                  The parties agree
28

                                             1
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 1   that time should continue to be excluded due to the pending motion to

 2   suppress.

 3                                       Respectfully submitted,

 4                                       MCGREGOR SCOTT
                                         United States Attorney
 5
 6
     DATED: August 24, 2005              /s/ Quin Denvir
 7                                       Telephonically authorized to sign
                                         for JASON HITT
 8                                       Assistant U. S. Attorney

 9                                       Attorney for Plaintiff

10
11
     DATED: August 24, 2005              /s/ Quin Denvir
12                                       QUIN DENVIR
                                         Federal Defender
13
                                         Attorney for Defendant Bernal
14
15
16
17                                       O R D E R

18
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
19
20
     DATED:    August 25, 2005
21
22
23
                                                 DAVID F. LEVI
24                                               United States District Judge
25
26
27
28
     U.S. v. Bernal
     CR S-05-0145 DFL
     Stip/Proposed Order                     2
